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UNITED STATES DISTRICT COURT

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ODT 1 3 2005

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cASTERN DISTRICT \BJER| M_O

 

NAME OF THE PLAINTIFF OR PLAINTIFFS
(Enter above the full names of each
plaintiff in this action. )

U\F{‘LU U(/)M l@§§

Case No.

@v§;\ P

 

 

NAME OF THE DEFENDANT OR DEFENDANTS
(Enter above the full name of ALL
defendant(s) in this action. Fed

R. Civ. P. 10(a) requires that the
caption of the complaint include

the name of all the parties. Please
attach additional sheets if
necessary.)

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COMPLAINT UNDER TITLE VII OF THE CIVIL RIGHTS ACT OF 1964

l. This action is brought pursuant to Title VII of the Civil
Riqhts Act of 1964, as amended, for employment discrimination.
Jurisdiction is specifically conferred on the Court by 42 U.S.C. §
2000e-5. Venue is pro r in this district under 42 U. S. C. § 2000e-

5(f)(3).

2_ MM])z/u/L§

plaintiff)

  
      

resides at:

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tre t address) (c ity)

777_.,§§@)/1// , / fz/`.€Ca

{st ate) (ZY P code)

Phone 99 g§?/Z¢GZ

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3. The defendant ,/j/d //U g/(Li k§:/

(name of defendant)
is an employer, employment agency, or labor organization, as
defined in 42 U S. C. § 2000e, and lives at or its place of business

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et address) f (cit )7

\ 701/15 l7/5<Jm , /

heath ' (St'a€€ map Code)

f

NOTE: IF THERE IS MORE THAN ONE PERSON FILING THE COMPLAINT OR IF
YOU ARE SUING MORE THAN ONE PERSON OR COMPAN'Y , PLEASE ADD THE N.AMES
AN'D ADDRESSES OF THE ADDITIONAL PERSONS OR COMPANIES ON A SEPARATE

SHEET OF PA.PER. COPY THE LANGUAGE IN PARAGRAPHS 2 AN'D 3 FOR
ADDITIONAL PLAINTIFFS OR DEFENDANTS.

4. The address at which plaintiff sough employment or was

  
  
 

employed by the d ndant( is:
S)

st l
01 , T§§ZW , Q§ABZ .
c ty) M(county)w (state) (z p code)

5. Defendant discriminated against the plaintiff in the

 

manner indicted in p agr hs nd lO of t is complaint on or
575 p

about: HV ) /V BJZAA&§

Wmo th) (day) (yéar)

6. Plaintiff filed charges against the defendant with the
Missouri Commission on Human Rights, charging defendant with the

acts of discrimination indicated in paragraphs 9 and 10 of this

complaint, on or about

 

(month) (day) (year)

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7. Plaintiff filed charges against the defendant with the
Equal Employment Opportunity Commission, charging defendant
with the acts of discrimination@<jma §d in paragrj-v/TAQ and 10 Of
this complaint, on or about
(mo …t (day) (year)

8. The Equal Employment Opportunity Commission issued a

 

No of Right to Sue Letter which was received by the plaintiff
on 5 , &z , a copy of which is attached to
0 th) (day) (year)

this complaint.

9. The acts that I complain of in this suit, concern
defendant's:
(a) _____ failure to employ me.
(b)

termination of my employment.

(c) failure to promote me. ‘ ,
(d) \f_/other acts (s ecify); ?d,{_'l)/!/p Q\CLLC
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lO. Defendant's action(s), as stated in paragraph 9, is
discriminatory with respect to the following:

(a) my race. (d) my national
origin

   

(b) other (specify)

 
 

my religion. (f)

 

(C) my sex.

 

 

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ll. The circumstances under which defendant(s) discriminated

against the plaintiff were as follows (Note: if you are suing more

than one defendant, please comp%:§s this questjon w' regard to

each of the named aefendants) wide w T il£, `
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(Attach additional sheets as necessary.)

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12. The acts set forth in paragraph 9 of this complaint are:

(a) still being committed by the defendant.

(b) y are no longer being committed by the

defendant.

(c) may still be being committed by the
defendant.

13. Plaintiff attaches to this complaint a copy of the

charges filed with the Equal Employment Opportunity Commission, and
submits said charges as a brief statement of the facts

supporting this complaint.

Whe efore, Spl:;:tiff prays for (state what relief is sought):

M/O\l,'/l/LDL(__ ()UJ,QS

 

 

 

and such other relief as the Court would allow under Title VII of

the Civil Rights Act of 1964, as amended.

signed this _[;_:’?2 day of 55wa , 20 O§

budd dal/2
»H / l

 

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Signature of Plaintiff(s)

